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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

FERYAL MOHAMMAD AND WAJDAN
MOHAMMAD,

          Plaintiff,

v.                                                             CASE NO.: 1:18-CV-23100-UU

DISCOVER BANK,

          Defendant.

                                              /

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

 FERYAL MOHAMMAD and WAJDAN MOHAMMAD, hereby dismiss the above-entitled

 action and all claims asserted in the action against Defendant, DISCOVER BANK, with prejudice.

 The parties agree to bear their own fees and costs.

     Respectfully Submitted,                           Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 12th day of December, 2018, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties either via transmission
 of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
 including:

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 Attorneys for Discover
                                                      /s/ Christopher W. Boss
                                                      Christopher W. Boss (FBN 13183)
